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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

CONSENSYS SOFTWARE, INC.,                    §
                                             §
    Plaintiff,                               §
                                             §
       v.                                    §
                                             §            Case No. 4:24-cv-00369-O
SECURITIES AND EXCHANGE                      §
COMMISSION, et al.,                          §
                                             §
    Defendants.                              §

                                          ORDER
       Before the Court is Defendants’ Motion to Amend the Scheduling Order. (ECF No. 38).

The Motion stated that Plaintiff is opposed. According, Plaintiff SHALL respond to the Motion

by July 31, 2024.

       SO ORDERED on this 25th day of July, 2024.



                                              _____________________________________
                                              Reed O’Connor
                                              UNITED STATES DISTRICT JUDGE
